
307 So.2d 502 (1975)
DADE COUNTY BOARD OF PUBLIC INSTRUCTION and the Continental Insurance Company, Appellants,
v.
Louis Leon FOSTER, Appellee.
No. 74-700.
District Court of Appeal of Florida, Third District.
February 4, 1975.
Stephens, Magill, Thornton &amp; Sevier, Miami, for appellants.
Martin S. Forman and Mark J. Feldman, Miami, for appellee.
Before BARKDULL, C.J., and PEARSON and HENDRY, JJ.
PER CURIAM.
In the final judgment appealed herein, the trial judge concluded that the appellee was an omnibus insured under an insurance policy issued to the Dade County Board of Public Instruction. Said judgment recites that this determination was made after "evidence having been taken in the cause".
The policy was ambiguous. The trial judge indicated he received evidence, yet no such evidence was presented in the record on appeal. We therefore affirm.
It is incumbent for the appellant, under Florida Appellate Rules, to bring the record to the court sufficient to demonstrate error. See: Rules 3.6, subds. b, d(1), F.A.R.; Phillips v. Blum, Fla.App. 1963, 139 So.2d 459. It has many times been held that where a trial court makes a determination of fact this issue may not be reviewed when the evidence is not presented in the record on appeal. See: Phillips v. Blum, supra; Stuco Corp. v. Gates, Fla.App. 1967, 145 So.2d 527; Belflower v. Risher, Fla.App. 1969, 227 So.2d 702; Pierson v. Sharp, Fla.App. 1973, 283 So.2d 880. There was some contention at oral argument that this introductory paragraph to *503 the final judgment was inaccurate. If this was so, the time to correct it was prior to the case being submitted on the merits. Florida Appellate Rules specifically provide the proper proceeding for doing this. See: Rule 3.6 subd. l, F.A.R.
Therefore, for the reasons above stated, the final judgment here under review be and the same is hereby affirmed.
Affirmed.
